       CASE 0:17-cr-00064-DWF-KMM Doc. 194 Filed 08/01/18 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,                  )
                                            )
                             Plaintiff,     )       17-cr-64-DWF-KMM
                                            )
               v.                           )       DEFENDANT’S UNOPPOSED
                                            )       MOTION TO EXTEND FILING
 EDWARD S. ADAMS,                           )       DEADLINE
                                            )
                             Defendant.     )



       Mr. Adams respectfully requests a modest extension of the current briefing

deadlines set forth in the June 25, 2018 Order (ECF No. 165). Under this proposal, Mr.

Adams’s reply in support of his motion to dismiss or in the alternative to disqualify (ECF

141), reply in support of his motion to suppress (ECF 147), and his opposition to the

government’s motion contesting the application of privilege (ECF 192) all would be due

on or before Friday, August 17.

       Mr. Adam’s reply deadline was originally set for August 6 (ECF 165). Thereafter,

the government received an extension to file two of its opposition briefs. (ECF 170 &

171). The July 23 Order did not address Mr. Adams’s reply deadline for those two briefs,

however the government’s motion noted that Mr. Adams’s consent was based on an in-

kind extension of his reply deadlines. Thus, Mr. Adams understands his reply to ECF

147 is currently due on August 6, and his other two briefs are due on August 10.

       Mr. Adams believes that the deadline for his three briefs should be aligned on a

single date, as the briefs are closely interrelated. Mr. Adams also believes that his request
       CASE 0:17-cr-00064-DWF-KMM Doc. 194 Filed 08/01/18 Page 2 of 3




for an approximately one-week extension is justified due to the length of the

government’s briefs (138 pages of briefing), the substantial additional factual disclosures

that the government has made in connection with its briefs (including transcripts of grand

jury testimony and the IRS Special Agent Report), and novel factual allegations of

uncharged fraud by Mr. Adams in connection with the government’s new theory that the

crime-fraud exception applies to his communications with Murry LLC.

       Counsel for Mr. Adams has met and conferred with the government regarding this

proposal. Counsel for the government has no objection to aligning the deadlines for Mr.

Adams’s reply briefs so that all are due on Friday, August 17.



Dated: August 1, 2018                     Respectfully submitted,


                                            /s/ Lance Wade
                                          Joseph G. Petrosinelli (DC Bar #434280)
                                          Lance Wade (DC Bar #484845)
                                          Gloria K. Maier (DC Bar # 1012208)
                                          WILLIAMS & CONNOLLY LLP
                                          725 Twelfth Street, N.W.
                                          Washington, DC 20005
                                          Telephone: (202) 434-5000
                                          jpetrosinelli@wc.com
                                          lwade@wc.com
                                          gmaier@wc.com




                                             2
CASE 0:17-cr-00064-DWF-KMM Doc. 194 Filed 08/01/18 Page 3 of 3




                            James L. Volling (#113128)
                            Deborah A. Ellingboe (#26216X)
                            FAEGRE BAKER DANIELS LLP
                            2200 Wells Fargo Center
                            90 South Seventh Street
                            Minneapolis, MN 55420
                            Telephone: (612) 766-7000
                            Facsimile: (612) 766-1600
                            james.volling@faegrebd.com
                            debbie.ellingboe@faegrebd.com

                            Attorneys for Defendant Edward S. Adams




                              3
